Case 1:18-cr-00032-DLF Document 118 'Filed 04/02/19 Page 1 of 2

AO 83 {Rcv. 06)'09} Summons in a Cn`minal Case

UNITED STATES DISTRICT COURT

for the
District ofCqumbia

United States of Ameriea
V.
Case No. 1:'| 8-cr-032

,., |nternet_Research A_oencv Ll_C _

\._/\._.J\.._.' ._.J\._.I\.._/\._.I

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

d Indietment D Superseding Indictment ij Inf`ormation I'_`l Supersedinglnformation E] Complaint
CI Probation Violation Petition Cl Supervised Release Violation Petition CI Violation Notice ij Order of Court

 

U. S. DISTRICT COURT FOR THE DISTRICT OF COLUMB|A
llilalllll U. S Courthouse

l 333 Constitution Avenue, N.W. _ . _ _ ,
` Washinqton, D.c.20001 Dat'= and Tlm°= 3 /J,O l 1‘25 \' "ld {m

Courtroom No.: l-lll'

 

 

 

 

This offense is briefly described as follows:
18 U.S.C. 371 (Conspiracy to Defraud the United States)
18 U.S.C. 1349 (Conspiracy to Commit Wire Fraud and Bank Fraud)
18 U.S.C. 1028A (Aggravated |denlity Theft)
18 u.S.C. 2 (Aiding and Abetting)

 

Date: 02»‘(16;2018 l ___
. l y issuing q{,l'¢`cer '.;`s®an_:re
U.S. Magistra!e Judge G. Michae| Harvey
Pr¢‘med name and n'r!e

 

 

l declare under penalty of perjury that I have:

.-"\.
.,':

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Dare: 3/1__~_:[ 101 8" ` ll____ l ' ' .;l/'\ZE 'l' "
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E'£'ll*l- y l rZF;E‘-ll@)“il_:l`F-\J\ lt.£`_.fv’&L.. -Bi"lp"!f'-‘{+E__

};;"Ell'l;d name and title

g Executed and returned this summons [J Returned this summons uncxecutecl:

 

Cas_e 1:18--cr -00032- DLF Document 118 Filed 04/02/19 Page 2 of 2
AO 83 (Rc\. Oéfogl Summons m a Criminal Casc {Page 2)

ease No_ 1118*Cr'032

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Notfor Public Discfosure)

INFORMATION FOR SERVICE
Name cfdefendantfoffendcr: ' imath Research Agency L;_C

l net iraan rpr.~irlpnr~.n-

USUal place Ol`abOClc Gfd{@'erenf from residence addres.r).'

 

-- »

It` the defendant is an_organizz;ion, name(s) and address{es) of oHicer(s) or agent{s) legally authorized to receive service of

pfoCCSSf

 

 

 

If` the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:

 

 

 

 

 

 

 

PROOF OF SERVICE
This summons was received by me on (da:e) 3 l | 3 113 | 6
U I personally served the summons on this defendant . at
CDI'HC€) on (dare) ; or
C| On (dare) l left the summons at the individual's residence or usual place of abode
with (name) , a person of suitable age and discretion who resides

 

there, and 1 mailed a copy to the individual’s last known address; or

‘lFI;I delivered a copy of the summons to (name chadwide .Sl £l'l-;E 8 E"I.`Z lll T°‘f °F" lH-§`__ ,
who-isaadmdaedtoveceivesuvieee¥pwcemn-bchai?o%mnenngmmmw rates £ea'¢a g § EWF.~?+»;_ ls'
:_`3{...§1 .;_r:__ up luis :-'-;`.»ss WJ f-f;i§ EJQA‘J`)* -"~l on (dare) and-i-mai-led-a-eopy-te
»~ 1 ' ' ` ` ` ' ` ' ` ' eeo¥`-bue-iness-elsewhcrc.in..thc__
>jl" Lhii&ed$lalesjei

Cl The summons was returned unexecuted because: E ! l E ll

APR - 2 2019 l

Clark. U.S, Dlsrr'rst 8. Bankmptl:y
l Cuurts fur the Distrlcl cf tlc|umh|a

Date returned: 3 F‘H !'l.ol if l ,U
a®r' s signature

E€.l<.l`- 995 s‘\‘».\~rr LE:'.O;L MrMA-LF;
_ j) Prl'medl name and rule

 

 

 

I declare under penalty cf perjury that this information is true. , -'“~.

/'"`\

 

 

Remarks:

